Case 2:03-cr-20327-STA Document 87 Filed 08/01/05 Page 1 of 3 Page|D 837

IN THE UNITED sTATEs DISTRICT comer -- l__-D_C'
FoR THE wEsTERN DISTRICT oF TENNESSEE gSAU-F_
wESTERN DIvIsIoN ’ ! PH 2: 21

UNITED STATES OF AMERICA,
Plaintiff,
vS. CR. NO. 03-20327-B[P

TON'Y' SEA,

Defendant.

V\_rv~_rv`_rv\,¢\./`_¢\-.n

 

ORDER DEN'YING DEFENDANT'S PRO SE MOTION REQUESTING NEW COUNSEL

 

Before the court is defendant Tony Sea‘s pro se Motion
Requesting New Counsel, filed July 15, 2005. The motion is a
"form" motion with blanks where the defendant filled in his name,
his attorney's name, the date counsel was appointed, and the number
of times counsel has met with the defendant. The form portion of
the motion goes on to allege that Ms. Brown has not provided him
with discovery and has not provided defendant with a copy of the
charging instrument.1 The form motion also asserts that "[c]ounsel

is not serving defendant's best interest." The motion was referred

 

l'I'his fill-in-the-blank form motion is identical to several
other motions filed by in-custody defendants in this district.
The form allegations are without merit. For example, the
defendant was provided with a copy of the charging instrument at
his initial appearance and arraignment. He also apparently was
provided with discovery in December 2003 by his prior counsel,
who was later disqualified due to a conflict of interest. (See
dkt #21 Rule 16 discovery letter).

Thie document entered on the docket Sheet in comp!iance

with sale 55 and/ur 32(b) FHCrP on ge .,?- QS
g"l

Case 2:03-cr-20327-STA Document 87 Filed 08/01/05 Page 2 of 3 Page|D 84

to the Magistrate Judge for determination. On July 27, 2005, the
court held a hearing on the motion. Present at the hearing were
the defendant, Ms. Brown, and the prosecutor. At the hearing, the
court heard from Ms. Brown and the defendant. Ms. Brown informed
the court that since her appointment to this case in March 2005,
she has had several conversations, including plea negotiations,
with the prosecutor, and has communicated with the defendant about
these plea discussions and offers on multiple occasions. She has
filed a motion to release the defendant on bond (which was denied),
and stated that, if appropriate, she will file other motions if
this case proceeds to trial. The court questioned the defendant
about his specific concerns regarding Ms. Brown, and other than
generalized concerns about "philosophical differences," the
defendant did not express any grounds to appoint new counsel. For
these reasons, the motion to appoint new counsel is DENIED.

IT IS SO ORDERED.

".-¢r-""‘”°'"` ""'-__r""-“_F__

n k L/\ l K,OL va

TU M. PHAM\
United States Magistrate Judge

meals \[, me
l

Date

   

UNITED sTATE DISTRIC COURT - WESTER D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 87 in
case 2:03-CR-20327 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

Sheila D. BroWn

LAW OFFICE OF SHEILA D. BROWN
9160 Highway 64

Ste. 12

Lakeland7 TN 38002

Jennifer lawrence Webber
U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

